                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN
                                 GREEN BAY DIVISION

 DEREK VOLKMAN, on behalf of himself
 and all others similarly situated,
                                 Plaintiff,

            vs.                                           Case No. 1:18-cv-00091-WCG

 ENHANCED RECOVERY COMPANY,
 LLC, a Delaware Limited Liability Company,
 d/b/a ERC,
                                 Defendants.

                             PRELIMINARY APPROVAL ORDER

       The Court, having considered Plaintiff’s Motion for Preliminary Approval, hereby grants

preliminary approval to the Class Settlement Agreement (“Settlement”) between Plaintiff, Derek

Volkman, individually and as representative of the class previously certified by the Court, and

Defendant, Enhanced Recovery Company, LLC (“ERC”), and the Court being satisfied that the

Settlement, the history of this case, and the negotiation process appear sufficient for the Court to

consider granting final approval in accordance with Fed. R. Civ. P. 23(e)(2) and to give notice to

the Class with an opportunity to submit objections to the Settlement in accordance with Fed. R.

Civ. P. 23(e)(1), and for good cause shown;

       IT IS HEREBY ORDERED:

       1.         The Court approves the form of Notice submitted as Exhibit 1 to the Settlement

with appropriate insertions of the dates and times set forth in this Order. Class Counsel shall

promptly coordinate with the Third-Party Class Administrator, Heffler Claims Group, so Notice

is given in accordance with the method and procedures set forth in the Settlement. The Court finds

the Notice and such methods and procedures to constitute reasonable notice under Fed. R. Civ.

P. 23(e)(1) and comports with Due Process. The initial mailing of such Notice shall be made no

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later than October 8, 2020.

       2.      January 8, 2021 at 2:30 P.M. is hereby set as the date and time for the Final

Approval Hearing on the fairness, reasonableness and adequacy of the Settlement, and for

consideration of the requests for fees and expenses by Class Counsel.

       3.      Any Class Member who wishes to object to the settlement must submit an objection

in writing to the Clerk of the United States District Court for the Eastern District of Wisconsin and

serve copies of the objection on the Class Administrator. All objections must be in writing and

personally signed by the Class Member and include: (1) the objector’s name, address, and

telephone number; (2) a sentence stating that to the best of his or her knowledge s/he is a member

of the Settlement Class; (3) the name and number of the case: Volkman, et al v. Enhanced Recovery

Company, LLC, Case No. 1:19-cv-00091-WCG; (4) the factual basis and legal grounds for the

objection to the Settlement; (5) the identity of any witnesses whom the objector may call to testify

at the Final Fairness Hearing; and (6) copies of any exhibits the objector may seek to offer into

evidence at the Final Fairness Hearing. The written objection must indicate whether the Class

Member and/or their lawyer(s) intend to appear at the Final Fairness Hearing. Any lawyer who

intends to appear at the Final Fairness Hearing also must enter a written Notice of Appearance of

Counsel with the Clerk of the Court no later than the last day of the exclusion/objection deadline

set by the Court and shall include the full caption and case number of each previous class action

case in which that lawyer(s) has represented an objector.

       4.      To be considered, an objection must be either postmarked or filed and served on

the Clerk of Court and Class Administrator by December 7, 2020.

       5.      Class Counsel shall submit or file all materials in support of final approval and in

support of the application for Class Counsel’s fees and costs, at least seven days prior to the Final

Approval Hearing.

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       6.      If not already filed, ERC shall file with the Court proof of compliance with the

notice requirements of the Class Action Fairness Act of 2005, 28 U.S.C. §1715(b) within fourteen

(14) days of this Order.

       SIGNED AND ENTERED this 24th day of September, 2020.



                                                 s/ William C. Griesbach
                                                 WILLIAM C. GRIESBACH
                                                 Judge, United States District Court




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